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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                Plaintiff,               )
                                         )
          vs.                            )         Case No. 4:19 CR 312 CDP
                                         )
STEVEN V. STENGER,                       )
                                         )
                Defendant.               )

                                     ORDER

      IT IS HEREBY ORDERED that the sentencing in this matter is set for

Friday, August 9, 2019 at 3:30 p.m. in Courtroom 14-South. All Objections to

the presentence report must be filed no later than July 19, 2019. If testimony is

expected counsel must notify the court at least one week before sentencing.

      IT IS FURTHER ORDERED that the parties must file any sentencing

memoranda no later than August 2, 2019 except that a response to a sentencing

memorandum may be filed no later than August 6, 2019.




                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

Dated this 3rd day of May, 2019.
